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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
LULA WILLIAMS, et al.,
Plaintiffs,

Vv. Case No. 3:17cv46l

BIG PICTURE LOANS, LLC,
et al.,

Defendants.

MEMORANDUM OPINION
This matter is before the Court on the PLAINTIFFS’ MOTION FOR
PARTIAL SUMMARY JUDGMENT (“Plaintiffs’ Motion”) (ECF No. 1165).
By ORDER entered on June 16, 2023 (ECF No. 1328), Plaintiffs’
Motion was granted in part. This MEMORANDUM OPINION further

explains the reasons for so doing.

BACKGROUND
A. Factual Background
This class action proceeding concerns a “lending scheme

allegedly designed to circumvent state usury laws.” Williams v.

Martorello, 59 F.4th 68, 72 (4th Cir. 2023) [hereinafter Williams

1 It also explains subsequent orders that were based on the
resolution of the Plaintiffs’ Motion.
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II). Plaintiffs, representing a class of borrowers ,? allege that
the defendant, Matt Martorello (“Martorello”), conspired with the
Lac Vieux Desert Band of Chippewa Indians (“the Tribe”) and various
other entities and individuals to issue high-interest loans
through the internet to consumers within the Commonwealth of
Virginia. Plaintiffs brought a five count CLASS ACTION COMPLAINT

(“Compl.”) (ECF No. 1) against Martorello. COUNT ONE seeks a

2 The Court certified the following classes:
(a) Big Picture RICO Class: All Virginia consumers who entered
into a loan agreement with Big Picture where a payment was
made from June 22, 2013 to December 20, 2019.

(i) Big Picture Usury Sub-class: All Virginia consumers
who paid any principal, interest, or fees on their loan
with Big Picture from June 22, 2015 to December 20, 2019.

(ii) Big Picture Unjust Enrichment Sub-class: All
Virginia consumers who paid any amount on their loan
with Big Picture from June 22, 2014 to December 20, 2019.

(b) Red Rock RICO Class: All Virginia consumers who entered
into a loan agreement with Red Rock where a payment was made
from June 22, 2013 to December 20, 2019.

(i) Red Rock Usury Sub-class: All Virginia consumers who
paid any principal, interest, or fees on their loan with
Red Rock from June 22, 2015 to December 20, 2019.

(ii) Red Rock Unjust Enrichment Sub-class: All Virginia
consumers who paid any amount on their loan with Red
Rock from June 22, 2014 to December 20, 2019.

Class Certification Order (ECF No. 1111) which was affirmed by the
United States Court of Appeals for the Fourth Circuit in Williams
Il.
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Declaratory Judgment that “the choice of law and forum-selection
provisions are void and unenforceable under Va. Code § 62-1541 (A)
and as a matter of Virginia's well-established public policy.”
Compl. at § 94. COUNT TWO seeks relief under the Racketeer
Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §&§
1962(c), COUNT THREE seeks relief under RICO, 18 U.S.C. § 1962(d).
COUNT FOUR is based on violations of Virginia Usury Laws. COUNT
FIVE presents a claim for unjust enrichment under Virginia law.
Compl. at 20-31.

The Plaintiffs Motion seeks summary judgment on COUNT THREE,
the RICO conspiracy claim? based on 18 U.S.C. § 1962(d) which
provides that:

It shall be unlawful for any person to conspire to

violate any of the provisions of subsection . .. (c) of

this section.

18 U.S.C. § 1962(d).

The Plaintiffs’ Motion also seeks summary judgment on certain
elements of COUNT TWO based on 18 U.S.C. § 1962(c): participation
in the affairs of the RICO enterprise. Section 1962(c) provides
that:

It shall be unlawful for any person employed by or

associated with an enterprise engaged in, or the
activities of which affect, interstate or foreign

3 PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THETR MOTION FOR PARTIAL
SUMMARY JUDGMENT (*Pls. Memo. in Supp.” ) at 3 n.1 (ECF No. 1169).
An unsealed version is filed at ECF No. 1166.

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commerce, to conduct or participate, directly or

indirectly, in the conduct of such enterprise’s affairs

through a pattern of racketeering activity or collection

of unlawful debt.

18 U.S.C. § 1962(c).

Section 1962(c) is also the RICO section that is charged as
that which was violated by the conspiracy that is alleged in COUNT
THREE. A brief summary of the factual underpinnings of Plaintiffs’
RICO claims is necessary to an understanding of the issues that
are the subject of this MEMORANDUM OPINION.

According to Plaintiffs and supported by the record offered
in support of Plaintiffs’ Motion, and not much materially disputed,
Martorello began engaging in the online lending business in 2008.
In 2011, Martorello, working with Robert Rosette, a well-known
lawyer in the tribal lending business, established a relationship
with the Tribe. The alleged purpose of this relationship was to
establish a so-called “rent-a-tribe” online lending operation. The
online lending operation was conducted by the alleged RICO
enterprise, which was comprised of Martorello, several entities
created and controlled by Martorello, several of his friends and
relatives, the Tribe, and several entities created by the Tribe.

The purpose to be served by the relationship Martorello sought
with the Tribe was to imbue a forthcoming online lending operation

with the Tribe’s sovereign immunity. If that could be

accomplished, Martorello envisioned that he (and entities that he
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would control and use to make high interest, usurious loans that
violated the laws of most states and RICO) would be immune from
civil and criminal liability for such violations.

There is undisputed evidence that, through the alleged RICO
enterprise, the alleged RICO conspiracy made high interest loans.*
First, under the name of Red Rock Tribal Lending, LLC (“Red Rock”),
and then in the name of Big Picture Loans, LLC (“Big Picture
Loans”). Both of those entities are considered arms-of-the-tribe.

Williams v. Big Picture, 929 F.3d 170 (4th Cir. 2019) [hereinafter

Williams I].

However, the loans were funded by Martorello’s company,

Bellicose VI and then Bellicose Capital, LLC (“Bellicose
Capital”). The record shows that Bellicose VI and then SourcePoint
VI, LLC (“SourcePoint") (Bellicose VI’'s subsidiary), which were

owned and controlled by Martorello, handled the day-to-day
operation of the business of the tribal entities and, for all
practical purposes, underwrote, issued, and serviced the loans
made online by the alleged RICO enterprise. For most of the time

at issue, the Tribe received approximately 2% of the net revenue

4 T.e., loans that were unlawful under Virginia law and 18 U.S.C.
§ 1961(6).
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from loan payments.5 Martorello’s companies received the rest.
And, ultimately, those companies sent the money to Martorello and
his family through offshore trusts that Martorello established to
receive the proceeds of the unlawful loans.

The undisputed evidence shows that Martorello was the founder
and Chief Executive Officer of Bellicose Capital. There is no
material dispute that Martorello created Bellicose VI and
Bellicose for the purpose of funding, making, and collecting the
alleged unlawful loans made by the alleged RICO enterprise.

Nor is it disputed that, in 2014 and 2015, Martorello knew
about enforcement actions taken by various state agencies against
unrelated, but similar, rent-a-tribe operations engaged in online
lending operations such as the one being operated by Martorello’s
entities and the Tribe. So, in January 2016, Martorello arranged
a restructuring of the online lending operation in which
Martorello, his entities, and the Tribe were involved. As part of
that restructuring, the Tribe acquired Bellicose Capital, and

Martorello’s entities and the Tribe entered into several related

5 Late in the timeframe, the Tribe’s percentage was increased
slightly, to 4%, following a restructuring of the enterprise that
will be discussed below.

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contracts that facilitated the continuation of their allegedly
illegal online lending activities.§

After the restructuring, most of the proceeds from the online
lending enterprise continued to flow to Martorello and his family
through a series of companies and trusts. Throughout the entire
course of the alleged RICO enterprise, its purpose was to make and
collect unlawful debts (i.e., loans on which the interest rate
exceeded the usury rate permitted under Virginia law and which met
the definition of “unlawful debt” in 18 U.S.C. § 1961(6)). There
is substantial evidence to support that Martorello was extensively
involved in the affairs of the alleged RICO enterprise.

It is important to keep in mind that the Tribe enjoyed
sovereign immunity. Therefore, even if it made loans that exceeded
permissible usury rates, it could not be sued. The same is true of
entities organized by the Tribe to participate in the RICO

enterprise’s online lending scheme. See Williams I, 929 F.3d at

185. The record contains substantial, undisputed evidence, that
Martorello’s purpose in making online loans under the so-called
“rent-a-tribe model” was to attempt to clothe the alleged RICO
enterprise with the sovereign immunity which the Tribe and its

entities possessed.

6 Under the restructured lending arrangements, the Tribe was to
receive approximately 4% of the gross revenues.
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There is evidence to show that Martorello (the alleged
mastermind and principal beneficiary of the rent-a-tribe scheme),
the entities that make and collect the usurious loans and that
distribute the loan payments, and the people who run these various
entities comprise the alleged RICO enterprise. The present action
focuses on Martorello because he is said to have conceived of, and
set up, the unlawful online lending arrangements, and spearheaded
efforts to make them appear to be of tribal origin. But allegedly,
in fact, it was his business entities and Martorello himself who
were conducting the affairs of the alleged RICO criminal
enterprise. And, it was Martorello and his family and investors
who ultimately received the funds generated by the unlawful

usurious loans.

B. Procedural Background

This case has a long procedural history. It has twice been to
the United States Court of Appeals for the Fourth Circuit. On the
first occasion, the Fourth Circuit considered the question of
tribal sovereign immunity and dismissed the two tribal entity
defendants, Big Picture Loans and Ascension Technologies, LLC

(“Ascension”). Williams I, 929 F.3d at 185; see also Dismissal

Order (ECF No. 668) (dismissing Big Picture Loans and Ascension) .
On the second, and more recent occasion, the Fourth Circuit

affirmed this Court’s class certification order. Williams II, 59

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F.4th at 73. Thereafter, the parties conducted extensive discovery
on the merits of the case after which the Plaintiffs and Martorello
both filed motions for summary judgment.
1. Martorello’s Motion for Summary Judgment
Martorello requested summary judgment that:
(1) Tribal law applied to the loans;
(2) Martorello could not be held liable under Virginia's
usury laws; and
(3) Martorello could not be held liable for unjust
enrichment.’
On June 26-27, 2023, the Court heard oral argument on Martorello’s
Motion for Summary Judgment (June 26, 2023 Minute Entry (ECF No.
1351)). That motion was denied in its entirety. June 28, 2023
ORDER (the “June 28 ORDER”) (ECF No. 1354). On July 11, 2023, a
MEMORANDUM OPINION (ECF No. 1392) was issued explaining that
decision.
2. The Plaintiffs’ Motion for Partial Summary Judgment
To some extent, the issues presented for decision in the

Plaintiffs’ Motion evolved over time because of the positions

7 DEFENDANT MATT MARTORELLO MEMORANDUM OF LAW OF IN SUPPORT OF HIS
MOTION FOR PARTIAL SUMMARY JUDGMENT ("“Martorello Memo. in Supp.”)
at 18, 32, 35 (ECF No. 1255).
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asserted in the briefs? and even in argument. Accordingly, it is
necessary to explain the evolution of the issues from inception to
decision.

The brief supporting the Plaintiffs’ Motion originally
specified that the only entire count presented for summary judgment
was COUNT THREE, the RICO conspiracy claim under 18 U.S.C. §
1962(d) (Plaintiffs’ Opening Memo, ECF No. 1169, p. 3 n.1).
However, later in their brief, the Plaintiffs also presented
Argument VI which was entitled: “Summary judgment should be granted
that a violation of § 1962(c) [COUNT TWO] occurred.”® However, an
examination of Plaintiffs’ opening and reply briefs make it clear
that Argument VI was addressed only to certain elements of COUNT
TWO (the § 1962(c) claim); and that the Plaintiffs’ Motion only

sought summary judgment on those elements, not on COUNT TWO as a

8 PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR MOTION FOR PARTIAL
SUMMARY JUDGMENT (ECF No. 1169); DEFENDANT MATT MARTORELLO
REPLACEMENT MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’ MOTION
FOR PARTIAL SUMMARY JUDGMENT (ECF No. 1218); and PLAINTIFFS’ REPLY
IN SUPPORT OF THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT (ECF No.
1244). At the request of Martorello, (ECF Nos. 1216 and 1217), a
replacement memorandum (ECF No. 1218) was filed in an effort to
remove from the decisional process the need to decide whether
Martorello’s original filing was objectionable for failure to
satisfy the requirement of a local rule of civil procedure. The
replacement memorandum was filed with the consent of the
Plaintiffs, and it is intended to respond to the Plaintiffs’ motion
for partial summary judgment (the brief for which is ECF No. 1169).

9 (ECF No. 1169, pp. 36-40).
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whole. With that clarification in mind, the Plaintiffs’ Motion
sought partial summary judgment:
e On the choice of law issue (ECF No. 1169, pp. 26-31);
e On the tribal immunity defense presented by Martorello
(ECF No. 1169, pp. 31-32); and
e That Martorello had viclated § 1962(d) (ECF No. 1169,
pp. 32-36) based on the assertions that: (A)
Martorello knew about the alleged RICO scheme and (B)
Martorello furthered the scheme and knowingly took
millions of dollars therefrom; and
e On certain elements of COUNT TWO, to-wit:
(i) an enterprise existed; and

(ii) the loans made by the enterprise are unlawful
debts; and

(iii) persons associated with the enterprise engaged
in collection of those debts.}1°

In response, Martorello substantively addressed some of those
issues, stipulated as to some of them, and ignored others. It is
thus necessary to sort out where Martorello now stands on those

issues.

10 Again, it is appropriate to keep in mind that at the time the
Plaintiffs’ Motion was filed, the Plaintiffs acknowledged the
existence of a disputed issue of fact respecting whether Martorello
participated in the management of the enterprise and therefore did
not seek summary judgment on COUNT TWO, the alleged violation of
18 U.S.C. § 1962(c).

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First, Martorello’s response to the Plaintiffs’ Motion took
the position that Tribal law (not Virginia law) applied to the
loans at issue because FEDERAL PREEMPTION PRECLUDES APPLICATION OF
VIRGINIA LAW (ECF No. 1218, pp. 21-31). That argument is comprised
of several subparts which are as follows:
e [The Tribe's] sovereignty rights require application
of tribal law because of provisions in the so-called
“Indian Commerce Clause;” and

e Application of Virginia law is at odds with the Native
American Business Development Act (“NABDA”) (ECF No.

1218, pp. 26-28); and

e The Economics of a Deal do not Change the Preemption
Analysis; and

e The National Bank Act Preemption supports application
of federal law; and

® The prospective waiver provisions in the choice of
forum clause in the loan agreements do not render the
tribal choice of law clause unenforceable; and

e Hengle_ v. Treppa is distinguishable and not
controlling.

Second, Martorello opposed the requested partial summary judgment
by claiming that he was entitled to present a mistake of law to
the RICO claims and that therefore those claims were not amenable

to summary judgment.

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On June 7 and 8, 2023, the Court heard oral argument on
Plaintiffs’ Motion and the parties’ respective motions in limine.}
June 7, 2023 Trans. (ECF No. 1316); June 8, 2023 Trans. (ECF No.
1317). In his briefing and at oral argument, Martorello stipulated
that:

(1) if the Court determined that Virginia law applies, the

loans constituted unlawful debts within the meaning of
RICO (18 U.S.C. § 1961(6));

(2) Martorello knew that there was an enterprise, as defined

by 18 U.S.C. § 1961(4); and

(3) “persons associated with the enterprise engaged in the

collection of unlawful debt.”
Hearing Trans. at 171-73. In addition, Martorello clarified that
he no longer was claiming tribal immunity. Id. at 165.

Subsequently, the parties agreed that, based on the foregoing
stipulations by Martorello and the Court's ruling on the choice of
law issue, the only remaining questions as to the claim under 18
U.S.C. § 1962(d) (COUNT THREE) were whether Martorello could
present a mistake of law defense (that tribal law applied) and,
relatedly, whether the Plaintiffs had to prove that Martorello had

to know that the loans were illegal. Id. In some iterations, the

11 For a complete list of all matters heard during the June 7-8
hearings, see May 24, 2023 ORDER (ECF No. 1267).
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latter contention was whether he had to know that the specific
interest rate was illegal. At other times, the contention was
merely a repetition of the belief that tribal law applied.
On June 16, 2023, the Court granted summary judgment in favor
of the Plaintiffs as to:
(1) The choice of law issue (4 I(1));
(2) Tribal immunity issue (4 1I(2));
(3) Martorello’s mistake of law defense (4 1(3));1?? and
(4) The following elements of the claim under 18 U.S.C.
§8§ 1962(c) (COUNT TWO) :33
“(a) The loans in question are ‘unlawful debts’ as
defined in 18 U.S.C. §§ 1961(6}), 1962(c); and
(b) An ‘enterprise’ existed as defined in 18 U.S.C. 8§§
1961(4), 1962(c); and
(c) Persons engaged in the enterprise collected unlawful

debts; and

12 As explained below, MATT MARTORELLO’S ANSWER AND AFFIRMATIVE
DEFENSES TO PLAINTIFFS’ COMPLAINT (“Martorello’s Answer”) (ECF No.
23) refers to the defense as one of “good faith,” and the parties’
briefs used the terms “good faith,” “advice of counsel,” and
“mistake of law” interchangeably, but, at oral argument, both
agreed that the defense actually was “mistake of law.”

13 And, to the extent that § 1962(c) is alleged as part of the §
1962(d) RICO conspiracy claim, to that aspect of COUNT THREE.

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(ad) There is no willfulness element for a civil cause of
action under 18 U.S.C. §§ 1962(c)-(d).”14
June 16, 2023 ORDER at 2-3 (“June 16 ORDER”) (ECF No. 1328). This
MEMORANDUM OPINION will further explain the reasoning on which
those decisions were based.

After the June 16 ORDER was issued, Plaintiffs filed a request
for reconsideration and asked the Court to amend the June 16 ORDER
“to reflect that summary judgment is granted in favor of Plaintiffs
as to 18 U.S.C. § 1962(d)‘s elements that Martorello: (1) knew
about; and (2) facilitated the usurious lending enterprise.”15
Martorello conceded that, after the Court’s ruling that the loans
are governed by the law of Virginia and that a mistake of law
defense is not available as a defense to liability, “there are no
remaining triable issues of fact on Plaintiffs’ § 1962(d) claim
[COUNT THREE] .”1§ In perspective of that concession, the June 16

ORDER was amended to read: “Summary judgment is granted in favor

14 By ORDER (ECF No. 1397), this part of the ORDER (ECF No. 1328)
was deleted.

15 PLAINTIFFS’ NOTICE AND REQUEST FOR RECONSIDERATION OF COURT’S
RULING ON SATISFACTION OF THE 1962(d) ELEMENTS at 2 (ECF No. 1340).

16 DEFENDANT MATT MARTORELLO’S RESPONSE TO PLAINTIFFS’ NOTICE AND
REQUEST FOR RECONSIDERATION OF COURT'S RULING ON SATISFACTION OF
THE 1962(d) ELEMENTS (ECF No. 1345).

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of the Plaintiffs as to all elements of Plaintiffs’ 18 U.S.C. §
1962(d) claim [COUNT THREE] .” June 26, 2023 ORDER (ECF No. 1350) .1”
Following the Court’s June 26, 2023 oral ruling that “control
is not a prerequisite for purposes of [18 U.S.C.] § 1962(c)
liability,” Martorello stipulated:
that, for the entire class period, he was associated
with an association-in-fact enterprise the activities of
which affect, interstate or foreign commerce, and Mr.
Martorello participated in the operation of the affairs
of the enterprise through the collection of “unlawful
debt” 18
He also informed the Court that “there are no remaining triable
issues of material fact regarding Plaintiffs’ § 1962(c) claim
[COUNT TWO] .” Id. Thereafter, the Court granted summary judgment
on COUNT TWO of the Complaint (the claim under 18 U.S.C. §
1962(c)). July 7, 2023 ORDER (ECF No. 1373).
Then, on July 10, 2023, for purposes of simplifying the

forthcoming trial, Plaintiffs moved to dismiss the state law counts

without prejudice, COUNTS FOUR and FIVE.1!9 The Court granted that

17° The June 26, 2023 ORDER was later amended to correct a
scrivener’s error. July 5, 2023 ORDER (ECF No. 1362).

18 DEFENDANT MATT MARTORELLO’S STIPULATION REGARDING REMAINING
ELEMENTS OF RICO 1962(c) CLAIM (ECF No. 1359).

19 PLAINTIFFS’ CONSENT MOTION TO DISMISS USURY AND UNJUST
ENRICHMENT CLAIMS WITHOUT PREJUDICE PURSUANT TO RULE 41(a) (2) (ECF
No. 1387).

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motion, and dismissed COUNTS FOUR and FIVE without prejudice. July
10, 2023 ORDER (ECF No. 1390).

Also, on July 10, 2023, the parties stipulated “that the
damages amount for the § 1962(c) claim [COUNT TWO] is
$43,401,817.47." JOINT NOTICE AND STIPULATION REGARDING § 1962(c)
DAMAGES (ECF No. 1389). They then stipulated “that the damages
for [the] § 1962(c) claim [COUNT TWO] are the same as the damages
for the § 1962(d) claim [COUNT THREE].” (ECF No. 1389).

After conferring with the parties in a conference call, July
10, 2023 Call Trans. (ECF No. 1393), and “understanding that there
are no remaining triable issues,” the Court canceled the trial
that had been set to begin with jury selection on July 12, 2023.
(July 11, 2023 ORDER (ECF No. 1391)).

With the foregoing background in mind, we return to explaining

the decisions on Plaintiffs’ Motion.

DISCUSSION

A. Legal Framework

Rule 56 sets forth the familiar standard for summary judgment,
providing that summary judgment “shall be rendered forthwith if
the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any, show
that there is no genuine issue as to any material fact and that

the moving party is entitled to a judgment as a matter of law.”
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Fed. R. Civ. P. 56(c). The Supreme Court has construed Rule 56(c)
to “mandate the entry of summary judgment, after adequate time for
discovery and upon motion, against a party who fails to make a
showing sufficient to establish the existence of an essential

element to that party's case, and on which that party will bear

the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S.
317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). The Court
explained that, “f{i]Jn such a situation, there can be no genuine

issue as to any material fact, since a complete failure of proof
concerning an essential element of the nonmoving party's case
renders all other facts immaterial.” Id. at 323, 106 S. Ct. 2548;

see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 254, 106

S. Ct. 2505, 91 L. Ed. 2d 202 (1986).
In reviewing a motion for summary judgment, a court must view
the facts and any inferences drawn from these facts in the light

most favorable to the nonmoving party. See Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 89

L. Ed. 2d 538 (1986); Seabulk Offshore, Ltd. v. Am. Home Assurance

Co., 377 F.3d 408, 418 (4th Cir. 2004). The nonmoving party must
demonstrate that there are specific facts that would create a
genuine issue for trial. See Anderson, 477 U.S. at 250, 106 S.

Ct. 2505. “Where .. . the record taken as a whole could not lead

a rational trier of fact to find for the non-moving party,

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disposition by summary judgment is appropriate.” United States v.
Lee, 943 F.2d 366, 368 (4th Cir. 1991).
B, Analysis

This MEMORANDUM OPINION principally addresses two issues on
which the Plaintiffs sought summary judgment: (1) the applicable
law (the choice of law issue); and (2) the availability of a
mistake of law defense to a claim for civil liability for
conspiracy under RICO: 18 U.S.C. § 1962(d). It also resolves
aspects of the Plaintiffs’ Motion in Plaintiffs’ favor because
Martorello did not contest them.

1. Choice of Law: Tribal Law or Virginia Law

The parties dispute what law applies to the loans that were
made by the alleged RICO enterprise. Plaintiffs argue that Virginia
law governs because: (1) all Plaintiffs in this class resided in
Virginia when they took out the loans and the effects of the loan
were felt by Plaintiffs in Virginia and (2) the loan agreement’s
choice of law clause (which specifies tribal law as the governing

law) is unenforceable. Pls. Memo. in Supp. at 27, 30.2° So, the

20 This dispute is also related to Plaintiffs’ Motion in Limine 3,
MEMORANDUM IN SUPPORT OF PLAINTIFFS’ OMNIBUS MOTIONS IN LIMINE at
4 (ECF No. 1174) (requesting the Court to “Exclude Argument or
Suggestion that Tribal Law Governs the Loans or Virginia law does
not apply to the loans, or that the Class Action Waivers are
Enforceable”) (emphasis removed), and id. at 6 (requesting the
Court to “Exclude Any Suggestion that Federal Policy Supports these
Commercial Activities”) (emphasis removed). Over Martorello’s
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Plaintiffs ask for summary judgment that Virginia law applies to
the loan agreements. 2?

In response, Martorello argues that various federal
preemption principles preclude the application of Virginia law
and, instead, that the loans at issue are governed by tribal law
because of the Indian Commerce Clause, U.S. Const. Art. 1, § 8,
and the federal preemption principles?? said to derive from the
NABDA and the National Bank Act (“NBA”). Martorello also argues
that, even if the Indian Commerce Clause, the NABDA, and/or the
NBA do not require the application of tribal law, the choice of
law clauses in the loan agreement, specifying the application of
tribal law, are enforceable under federal law. ?3

(a) The Indian Commerce Clause, the NABDA, the NBA

Martorello argues that, instead of engaging in the usual

choice of law analysis (which admittedly would not apply tribal

opposition, DEFENDANT MATT MARTORELLO’S MEMORANDUM OF LAW IN
OPPOSITION TO PLAINTIFFS’ OMNIBUS MOTION IN LIMINE at 2-3 (ECF No.
1205), the Court granted both these Motions in Limine. June 16,
2023 ORDER at 3 (ECF No. 1328).

21 Pls. Memo. in Supp. at 26.

22 Martorello Memo. in Supp. at 18.

23 DEFENDANT MATT MARTORELLO REPLACEMENT MEMORANDUM OF LAW IN
OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
(“Martorello Response”) at 29 (ECF No. 1218).

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law), the Court should engage in an Indian Commerce Clause
analysis. Martorello Response at 21-22. Under that analysis, says
Martorello, tribal law governs the loans, and any attempt to apply
Virginia law to the loans violates the Tribe’s sovereign authority
and preempts federal law. Id. at 26.%4

The Indian Commerce Clause states: “The Congress shall have
Power . . . To regulate Commerce. . . with the Indian Tribes.”
U.S. Const. Art. I, § 8, cl. 3. Under that clause, “Congress has
broad power to regulate tribal affairs,” and federal law concerning

tribal affairs preempts state law. White Mountain Apache Tribe v.

Bracker, 448 U.S. 136, 142 (1980). Federal preemption and the
“tradition of Indian sovereignty over the reservation and tribal
members” together serve to limit the states’ ability to interfere
in tribal affairs. Id. at 143.

Tribal affairs are implicated when states attempt to regulate
“activity undertaken on the reservation or by tribal members.” Id.

at 143; see also California v. Cabazon Band of Mission Indians,

480 U.S. 202, 205 (1987) (discussing regulation of “non-Indians
coming onto the reservations”). When tribal affairs are

implicated, the Supreme Court has instructed that a multi-faceted

24 Martorello reiterated these same arguments in his Motion for
Summary Judgment. See DEFENDANT MATT MARTORELLO MEMORANDUM OF LAW
OF IN SUPPORT OF HIS MOTION FOR PARTIAL SUMMARY JUDGMENT at 18, 28
(ECF No. 1255).

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test is to be employed to determine if state laws can apply. Id.

at 145; Otoe-Missouria Tribe of Indians v. N.Y. Dep’t of Fin.

Servs., 769 F.3d 105, 112 (2d Cir. 2014).

However, the Supreme Court has made clear that the Bracker
test does not apply where a state imposed a regulation on “a non-
Indian” engaging in “a transaction that occurs off the

reservation.” Wagnon v. Prairie Band Potawatomi Nation, 546 U.S.

95, 99 (2005). And, “[u]nless federal law provides differently,
Indians going beyond reservation boundaries are subject to any

generally applicable state law.” Michigan v. Bay Mills Indian

Cmty., 572 U.S. 782, 795 (2014) (citation omitted).

Binding Fourth Circuit precedent makes clear that online
tribal lending is considered “off-reservation” conduct. Hengle v.
Treppa, 19 F.4th 324, 348-49 (4th Cir. 2021). Here, as in Hengle,
the office of the entities that (at least nominally) issued the
loans, Red Rock and Big Picture Loans, were “located on tribal
land,”25 but it is not disputed that the Plaintiffs in this case
(the targets of the lending activity) “reside[d] on non-Indian
lands when they applied for their loans online. . . and the effects
of Defendants’ allegedly illegal activities were felt by the

Plaintiffs in Virginia,” not on tribal land. Hengle, 19 F.4th at

25 Loan Agreement at 2 (ECF No. 1-1).

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348-49 (citing Gingras v. Think Fin., Inc., 922 F.3d 112, 121 (2d

Cir. 2019); Otoe-Missouria Tribe of Indians v. N.Y. State Dep’t of

Fin. Servs., 974 F. Supp. 2d 353, 360-361 (S.D.N.Y. 2013); Colorado

v. W. Sky Fin., LLC, 845 F. Supp. 2d 1178, 1181 (D. Colo. 2011);

United States v. Hallinan, No. 16-cr-130, 2016 WL 7477767, at *1

n.2 (E.D. Pa. Dec. 29, 2016)); see Pls. Memo. in Supp. at § 140;
Martorello Response at 140.26

The undisputed record in this case establishes that the loan
activities in this case are “directly analogous to the lending
activity that other courts have found to clearly constitute off-
reservation conduct subject to nondiscriminatory state
regulation.” Hengle, 19 F.4th at 348-49 (citation omitted). And,
there is no assertion that Martorello is a tribal member. Thus, on
this record, the Bracker Indian Commerce Clause test is
inapplicable.

Martorello also points to the NABDA and the NBA, arguing that

these federal laws preempt the application of state law. Martorello

26 When citing to the Plaintiffs’ statement of facts, Pls. Memo.
in Supp. at 5-26, the Court will refer to the numbered paragraphs
therein. Martorello submitted both a “Counterstatement of
Undisputed Material Facts,” Martorello Response at 2-15, and a
“Response to Plaintiffs’ Statement of Facts,” id. at 15-21, both
of which use numbered paragraphs. All citations to numbered
paragraphs in Martorello’s Response correspond to the section
titled “Response to Plaintiffs’ Statement of Facts,” not to
Martorello’s “Counterstatement.”

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Response at 26-29. But, he has identified neither a statutory
provision nor a court decision that would permit a finding that
those statutes preempt state usury laws. Id. Martorello also
mentions, in passing, that “[t]he economics of a deal do not change
the pre-emption analysis.” Id. at 28. That conclusory argument
cites authorities that, upon examination, have no bearing on the
issues in this case. Indeed, that argument, like the NABDA and
the NBA arguments, is so lacking in merit as to warrant summary
rejection.

Therefore, unless there is an enforceable choice of law clause
providing otherwise, Virginia law applies. The analysis turns next

to that question.

(b) The Choice of Law Clauses in the Loan Agreements
The Loan Agreement’s tribal choice of law clause states:

This Agreement will be governed by the laws of the Lac
Vieux Desert Band of Lake Superior Chippewa Indians
(“Tribal law”), including but not limited to the [Tribal
Consumer Financial Regulatory] Code as well as
applicable federal law. All disputes shall be solely and
exclusively resolved pursuant to the Tribal Dispute
Resolution Procedure set forth in Section 9 of the Code
and summarized below for Your convenience.

Loan Agreement at 4 (ECF No. 1-1) (emphasis added).

Because “the parties have not provided the Court with any
tribal law concerning contract interpretation,” the Court “will
apply the contract interpretation principles of the forum,

Virginia.” Hengle, 19 F.4th at 340 n.5; see also Williams II, 59
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F.4th at 77-78 n.7. Choice of law clauses are often enforceable
under Virginia law, Hengle, 19 F.4th at 349; however, those clauses
are not given effect when enforcement is “contrary to compelling
public policy.” Id.

The choice of law clause in these loan agreements is contrary
to public policy for two reasons. First, the clause violates
federal public policy under the prospective waiver doctrine.
Second, the clause violates Virginia’s strong public interest
against usurious loans.

As explained by the Fourth Circuit, “[t]he prospective waiver
doctrine invalidates agreements that prospectively waive a party’s
right to pursue statutory remedies in certain circumstances”

because such a wavier “violates public policy.” Williams II, 59

F.4th at 80. In this case, the Fourth Circuit has found that this
choice of law clause runs afoul of the prospective waiver doctrine.
In so doing, the Fourth Circuit held that, notwithstanding its
references to federal law, the Loan Agreement “in general” is

“governed exclusively by Tribal law.” Id. at 84 (emphasis added).

And, although it is true that the Tribe’s Regulatory Code?’

incorporates some federal consumer protection laws, it does not

27 Lac Vieux Desert Band of Lake Superior Chippewa Indians Tribal
Consumer Financial Services Regulatory Code (“Tribe’s Regulatory
Code”) § 6.2 (ECF No. 1207-6).

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include the federal statute (RICO) at issue in this litigation.
Thus, under the terms of the Loan Agreement, Plaintiffs would not
be able to “effectively vindicate their federal statutory rights”
to relief under RICO. Id. at 85.

By denying Plaintiffs the ability to pursue those federal
statutory remedies, the choice of law clause in these loan
agreements violates the prospective waiver doctrine. The clause is
therefore unenforceable for that reason alone. Id.

The choice of law clause in the loan agreements also is
unenforceable because it is contrary to the Commonwealth of
Virginia’s public policy. The Tribe’s Regulatory Code states:

Except as otherwise specified in this Code, a consumer

financial services transaction may provide for such

price, interest, time price differential, rent, fees,
filing fees, and other charges as agreed upon by the
parties.
Tribe’s Regulatory Code § 7.2(b). The Tribe’s Regulatory Code
provides for no limitation on the interest charged on small loan
transactions. Id. at § 11.28 Virginia, on the other hand, has a

“compelling public policy against unregulated usurious lending”

and caps general interest rates at 12%. Hengle, 19 F.4th at 350,

28 It appears that only vehicle loans are subject to a usury cap
under the Tribe’s Regulatory Code. Vehicle loans may not be subject
to more than 390% annual interest rates. Tribe’s Regulatory Code
§ 12.2(b).

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352 (citing Va. Code Ann. § 6.2-303(A)) .?9 Therefore, as the Fourth
Circuit has recognized, “unregulated usurious lending of low-
dollar short-term loans at triple-digit interest rates to Virginia
borrower-unquestionably ‘shocks. . . one’s sense of right’ in view

of Virginia law.” Id. at 352 (quoting Tate v. Hain, 25 S.E.2d 321,

325 (Va. 1943)); see also Radford v. Cmty. Mortg. & Inv. Corp.,

312 S.E.2d. 282, 285 (Va. 1984) (“The usury statutes represent a
clarification of the public policy of the state that usury is not
to be tolerated . . . .” (citation omitted)). Thus, under
Virginia’s compelling public policy, the choice of law clause is
unenforceable.

In sum, neither the Indian Commerce Clause, the NABDA, the
NBA, nor the choice of law provision in the loan agreements
precludes application of Virginia’s usury laws. For those reasons,
the Court held that Plaintiffs are entitled to summary judgment on
the choice of law issue. And that judgment is that Virginia law

applies and governs, inter alia, the lawful interest rate. And,

under RICO, any rate that exceeds twice the rate allowed by state

law offends the RICO statute and is an unlawful debt.?9

29 There are circumstances in which Virginia law allows interest

rates in excess of 12%, but these loans do not fall within any

exception. Martorello does not contend otherwise.

30 After the Court found that Virginia law applied to the loans,

June 16, 2023 ORDER (ECF No. 1328), Martorello conceded that the

loans in question were “unlawful debt,” as defined by 18 U.S.C. §
27
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2. Mistake of Law Defense and Knowledge That Loans Were
Unlawful

Martorello argues that he can assert, as a defense to RICO
civil liability under § 1962(c) and § 1962(d), that he acted as he
did on a mistaken belief of law that (1) the loans made by the
alleged RICO enterprise were governed by tribal law and that,
therefore, (2) those loans were legal under tribal law. Martorello
Response at 33-34. Relatedly, Martorello also argues that to be

liable under § 1962(d), “Plaintiffs must prove that Martorello

knew that the loans were unlawful and, with that knowledge,

intentionally conspired with co-conspirators to collect them.”
Martorello Response at 33 (emphasis added).

Plaintiffs assert that there is no “mistake of law” defense
to liability under § 1962(c) or § 1962(d).31 They also take the
view that neither § 1962(c) nor § 1962(d) requires proof that

Martorello knew that the loans in question were unlawful. Id.

1961(6), June 7, 2023 Hearing Trans. at 171-72. Virginia caps
interest rates at 12%, Va. Code Ann. § 6.2-303. Therefore, all
loans in excess of 24% are “unlawful debts” under RICO. Here, it
is undisputed that the “average [Annual Percentage Rate] for the
consumer loans was 727.80%” and the lowest was 34.8887%. Pls. Memo.
in Supp. at ¢ 146; Martorello Response at § 146.

31 PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR PARTIAL SUMMARY
JUDGMENT at 19-27 (ECF No. 1241).

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(a) Mistake of Law

The mistake of law defense seems to have its genesis in
Martorello’s SEVENTH AFFIRMATIVE DEFENSE which is:

Defendant, Matt Martorello, at all times relevant acted

in good faith and in a lawful manner towards consumers

in conformity with all applicable laws and regulations.
During the course of the case and in their summary judgment briefs,
the parties confused the record respecting the true nature of the
defense because they variously referred to it as a “good faith”
defense, a “mistake of law” defense, the “scienter question,” or
“advice of counsel.” Indeed, the parties used all of those terms
interchangeably to refer to what seemed to be the same issue:
whether Martorello’s alleged mistaken belief that tribal law
governed the legality of the collected debt [the loans] at issue
is available as a defense to COUNT TWO and COUNT THREE.

Of course, good faith, advice of counsel, scienter, and
mistake of law are somewhat different, albeit sometimes related,
concepts. So, at the June 7 hearing, the Court sought to

understand the true nature of the defense that, in the briefs,

bore these various sobriquets.?3

32 MATT MARTORELLO’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’
COMPLAINT (ECF No. 35, p. 23).
33. Martorello advised that he was not presenting an advice of
counsel defense.

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At the June 7 hearing, counsel for Martorello clarified that,
notwithstanding the various references made in the briefs and
pleadings, Martorello indeed was relying on a mistake of law
defense and whether such a defense was available to Martorello in
defense of COUNT TWO and COUNT THREE. June 7, 2023 Hearing Trans.
at 8, 45-46, 60-61 (ECF No. 1316). Counsel for the Plaintiffs
agreed that was the issue.

But then, counsel for Martorello stated: “when I have
conceived of this argument and I've drafted it, I did not refer to
it as a mistake of law. So I may not use that terminology, but I'm
certainly on the same page with what we're discussing and what
we're arguing here.” June 7, 2023 Hearing Trans. at 61.

MS. SIMMONS: Okay. So the threshold question we believe

here is - and Your Honor has - has conceived of it asa

mistake of law.

The question we think that the Court has to answer is—

THE COURT: Just a minute. Just a minute. I didn't

conceive of it. You all conceived of it. He

[Plaintiffs’ counsel] agreed with that’s what it was.

The plaintiffs agreed that’s what it was. It’s in your

briefs. It is articulated in three different ways,

advice of counsel, good faith, mistake of law, but its
predominant thesis is it’s a mistake of law.

*k k *k

MS. SIMMONS: . . . The question is does section 1962(d),
the conspiracy section of the RICO statute, have a
scienter element that would place the burden on
Plaintiffs to show that Martorello willfully agreed that
he, or some member of the alleged RICO conspiracy, would
engage in the collection of unlawful debt. And we submit

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that it does have that scienter requirement as the first
point.

So in the United States --

THE COURT: Mark that right there. I need to have that
typed up.

That isn’t how these briefs read.
MS. SIMMONS: I think that it is how the --

THE COURT: It’s a refinement on it that I don’t think
is quite in the papers.

MS. SIMMONS: It’s certainly the intention of the portion
of our opposition to their motion for summary judgment
on this point.

(June 7, 2023 Transcript (“June 7 Tr.”), pp. 60-64.

Martorello’s counsel then turned to United States v. Mouzone,

687 F.3d 207, 218 (4th Cir. 2012). There, the Court of Appeals,
when deciding that a conviction for violating § 1962(d) did not
require that the defendant have a role in directing the RICO
enterprise, also made the statement that the § 1962(d) criminal
liability charge had as an element that “each defendant knowingly
and willfully agreed that he or some other member of the conspiracy
would commit at least two racketeering acts.” Id. at 218; June
7 Tr. at 62.

And counsel for Martorello continued:

MS. SIMMONS: And so the existence of Mr. Martorello’s

good faith belief goes to the question of whether or not
he could have engaged in willful conduct.

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In [another] case,34 in a footnote, the Court said,
“Willfulness generally requires a showing of knowledge
of unlawfulness.” And it did so in the citation to the
Supreme Court’s decision in Bryan v. United States at
524 U.S. 184.

So if we are correct, and we think we are, that a section
1962(d) claim requires a showing of willfulness to
engage in the collection of unlawful debt, then Mr.
Martorello should be entitled to present evidence of his
good faith belief.

THE COURT: Good faith belief of what?

MS. SIMMONS: That he was not engaging in the collection
of unlawful debt, that he - that he had a good faith
belief that tribal law would apply to the loans.

k * *

THE COURT: So it’s mistake of law.
MS. SIMMONS: Yes, Your Honor.

THE COURT: He made a mistake of law.

MS. SIMMONS: Yes, Your Honor.

THE COURT: Okay.

MS. SIMMONS: But the case law saying that mistake of
law is not a defense we submit doesn’t apply here because
there is a willfulness element, which, in and of itself,
allows a defendant to present evidence of his good faith
belief that it wasn’t unlawful. And so that’s why this
type of evidence is relevant.

(June 7 Tr., pp. 63-65) (emphasis added).
Thus, when all is said, Martorello wanted to defend against

RICO liability by asserting the mistaken belief that tribal law,

34 United States v. Grote, 961 F.3d 105 (2d Cir. 2020).
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not Virginia law, governed whether the loans were unlawful (i.e.,
whether the debt being collected was unlawful). So, sobriquets
notwithstanding, the issue to be decided is whether there is a
mistake of law defense to the RICO civil conspiracy claim under §
1962(a), and to the claim under § 1962(c).

As matters now stand, Martorello’s mistake of law defense has
two purposes. First, he wishes to present the mistake of law
argument to defend against a perceived willfulness element that
Martorello says is in § 1962(d). Second, he wishes to use the
mistake of law argument to defend against what he asserts to he
the knowledge of illegality of the debt (the loans) element in §
1962(c) (which is alleged to be the object of the § 1962(d)
conspiracy) .

(b) The Mistake of Law Defense: Factual Basis

Before addressing those two issues, it is necessary to
understand the factual basis for the mistake of law defense as
Martorello presents it in the case. Because of the broad and vague
text of Martorello’s SEVENTH AFFIRMATIVE DEFENSE in his Answer and
the varying sobriquets attached to it in subsequent discovery
responses and briefs, Martorello was ordered to submit a statement
detailing his mistake of law defense and produce all documents
reflecting the sources of his belief that tribal law applied (ECF

No. 1247). In response, Martorello submitted fifty documents that

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purportedly reflected written advice, or the substance of oral
advice, provided to Martorello to support his belief that tribal
law applied to the loans at issue and that, therefore, the debt
being collected was not unlawful.%

For various reasons set forth on the record, the Court
sustained the Plaintiffs’ objections to the use of most of the
proffered documents. In so doing, the Court narrowed those
documents to seven exhibits.

Those documents fit into three categories:?’ (1) letters from
lawyers who are counsel to online tribal lending expressing the
view that tribal laws govern the loans;?8 (2) communications
showing that, in 2013 and 2014, Martorello was aware of the

decision in Otoe that was adverse to rent-a-tribe online lending

35 DEFENDANT MATT MARTORELLO'S STATEMENT OF POSITION REGARDING GOOD
FAITH DEFENSE PURSUANT TO ORDER AT DOCKET NO. 1247 at 9-17 (ECF
No. 1275) (unsealed version at ECF No. 1261).

36 BB (ECF No. 1264-13; refiled at ECF No. 1396 with email
attachment per ECF No. 1394), EE (ECF No. 1261-31), KK (ECF No.
1264-18), MM (ECF No. 1264-20; refiled at ECF No. 1396-1 with email
attachment per ECF No. 1394), ccc (if foundation was provided)
(ECF No. 1264-29; refiled at ECF No. 1396-2 with email attachment
per ECF No. 1394), HHH (ECF No. 1264-32), and JJJ (ECF No. 1261-
62). See June 7 Hearing Trans. at 270-272, 284, 286, 297, 298,
3030, 307-08, 310, 313, 318.

37 Some of the exhibits of which do not reflect that Martorello
even received or saw them and for which that foundation must be
laid if they are to be admitted.

38 Exhibits BB, KK, and JJJ.
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that, in turn, necessitated the decision to suspend the
Martorello/Tribe online lending in New York;3? and (3) a 2015 letter
from Rosette, LLP, counsel for many tribes, including the Tribe,
outlining a strategy to deal with the Otoe decision.*

Assuming that those documents are admissible (i.e., that
Martorello was aware of them at the relevant times), they are
probative of Martorello’s assertion that he believed that Tribal
law governed the loans at issue (the debt being collected).
However, those documents are not the only evidence pertaining to
the mistake of law defense.

For example, in his briefing, Martorello says that he knew
“tribal lending. . . was under legal and regulatory attack in some
quarters throughout the relevant period of time.” Martorello
Response at 35.41 And, the record as a whole reflects that
Martorello knew that he was operating in, at-best, a grey area of
the law. In fact, in 2012, he said that the tribal lending
“industry is going to be living in the grey area of its legality
for another year or two” and noted that “[w]e have received dozens

of letters from State AGs saying we need to be licensed and sending

39 Exhibits EE and MM.

40 Exhibit KK.

41 Exhibits EE and MM confirm that to be so.

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Cease and Desist order.” Martorello to Argyros Email at 13-14 (ECF
No. 1266-1); see also Connecticut Cease & Desist Letter (ECF No.
1166-20).

Martorello closely followed successful lawsuits against, and
criminal prosecutions of, other players in the rent-a-tribe
lending industry. Martorello to Argyros Email at 12; Martorello to
Rosette Email at 1 (ECF No. 1166-19); Martorello to Wichtman Email
(ECF No. 1166-26). Martorello was so concerned about his own
liability that he asked two attorneys to put together an opinion
letter detailing his potential for personal criminal liability for
the online lending rent-a-tribe involved in this case. In response,
the attorneys stressed “[t]here isn’t a bright-line answer here
from a legal standpoint” and informed him that “[i]t is possible

that individual or third-party service-providers could be held

liable for criminal violations of Georgia [and other states’'] law.”
Weddle & Compton Email & Memo to Martorello at 2, 14 (ECF No. 1270-
2) (emphasis added). Martorello summed up the content of this email
and the accompanying memorandum to say “something like ... ‘yes it
is possible the state will come after you for helping the tribe
lend against their [the state’s] laws and charge YOU for aiding
and abetting as a felony crime in their state (in some instances
penalty could be jail time), but we don't think it's going to

happen.’” Martorello to Argyros Email at 14 (ECF No. 1266-1).

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Another attorney advised Martorello that “it will be an uphill
battle” to persuade a court that the loans were legal in a civil
proceeding. Wichtman to Martorello Email at 3 (ECF No. 1166-22).

In sum, Martorello knew that’ the online rent-a-tribe
operation in which he was engaged was of questionable legality;
that courts had held that tribal law did not apply to tribal online
lending; that, in a civil proceeding, it would be difficult
(“uphill”) to persuade a court that the loans were legal; and that,
if he persisted in asserting that tribal law governed the loans,
he might face state felony prosecution. And, he knew that the
tribal lawyers knew as much even while asserting their belief that
tribal law applied.42 With that knowledge, and aware that online
tribal lenders had been found to be wrong by the federal courts in
New York, Martorello deliberately took the risk that his guess
about what law would apply might well be wrong.

Of course, Martorello’s mistake of law defense cannot rest on
documentary evidence alone. In particular, because his defense
depends on his knowledge and subjective belief, Martorello cannot
rely on his mistake of law defense unless he testifies to what his

belief was and why he held it.

42 Exhibits BB, EE, KK, MM, CCC, HHH, and JJJ cited on p. 31, supra.

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Considering that this Court and the Court of Appeals has held
that Martorello previously has lied under oath about topics that
are pertinent to the mistake of law defense,43 it would be quite
surprising if Martorello were to testify at trial. If he does
not, there could be no mistake of law defense. However, counsel
has represented that Martorello will testify at trial. So, at
this stage, it must be assumed that he will and that he would say
that he held the belief that tribal law governed whether the loans
were unlawful debt.

That, in sum, is the factual predicate for what Martorello
calls the mistake of law defense. Whether that fact basis could
constitute a mistake of law defense is not now before the Court.
But, assuming that it could, the question is whether that defense

is even available to Martorello in defense of the RICO counts.

(c) Willfulness and the Mistake of Law Defense
To assess Martorello’s position on his mistake of law defense,
it is necessary to understand the elements of § 1962(c) and (d).
Subsection (c) is involved in the analysis of liability under COUNT
TWO and under COUNT THREE because COUNT THREE alleges a conspiracy
to violate § 1962(c).

The starting point is the statutory text.

43 Williams v. Big Picture Loans, LLC, No. 3:17-cv-461, 2020 WL
6784352 (E.D. Va. Nov. 8, 2020); Williams II, 59 F.4th at 89-90.
38

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Section 1962(c) reads, in full:

It shall be unlawful for any person employed by or
associated with any enterprise engaged in, or the
activities of which affect, interstate or foreign
commerce, to conduct or participate, directly or
indirectly, in the conduct of such enterprise’s affairs
through a pattern of racketeering activity or collection
of unlawful debt.

18 U.S.C. § 1962(c) (emphasis added). To establish the collection
of unlawful debt, Plaintiffs must show that the defendant “(1)
conducted [or participated in conducting] the affairs of an
enterprise (2) through the collection of unlawful debt (3) while
employed by or associated with (4) the ‘enterprise engaged in, or
the activities of which affect, interstate or foreign commerce. ’”**

Gibbs v. Stinson, 421 F. Supp. 3d 267, 312 (E.D. Va. 2019), aff'd

on different grounds sub nom. Gibbs v. Sequoia Cap. Operations,

LLC, 966 F.3d 286 (4th Cir. 2020) (quoting § 1962(c)); see also

Salinas v. United States, 552 U.S. 52, 62 (1997) (holding that

“[t]he elements predominant in a subsection (c) violation are: (1)
the conduct (2) of an enterprise (3) through a pattern of

racketeering activity [like the collection of unlawful debt”).

44 Tt is undisputed that the loans involved interstate or foreign
commerce. There is also no dispute that Plaintiffs were injured by
the alleged RICO violation. See Nunes v. Fusion GPS, 531 F. Supp.
3d 993, 1012-1013 (E.D. Va. 2021).

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Section 1962(c) does not mention willfulness. In that
situation, it is often helpful to examine what the instructions
would be if the case were to go to trial.

A widely used instruction on civil RICO liability delineates
the elements of § 1962(c) as follows:

In order to prove that the defendant violated section

1962(c), plaintiff must establish by a preponderance of

the evidence each one of the following five elements:

First, that an enterprise existed as alleged in the
complaint;

Second, that the enterprise affected interstate or
foreign commerce;

Third, that the defendant was associated with, or
employed by, the enterprise;

Fourth, that the defendant engaged in a pattern of
racketeering activity (or the collection of an unlawful
debt); and

Fifth, that the defendant conducted, or participated
in, the conduct of the enterprise through that pattern
of racketeering activity (or collection of an unlawful
debt).

Modern Federal Jury Instructions (Civil), § 84-23 (emphasis

added) .
The instruction, like the statutory text, does not mention

that willfulness is an element to be proved in establishing a civil

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claim under Section 1962(c).45 Accordingly, Martorello’s purported
purpose to use a mistake of law defense to counter a willfulness
element in a Section 1962(c) claim is not supportable.

But, were willfulness an element of a Section 1962(c) claim,
the jury would be told that:

The term “willfully,” as used in these instructions to

describe the alleged state of mind of defendant

means that he acted knowingly, deliberately and

intentionally as contrasted with accidentally,

carelessly, or unintentionally.

1A O’Malley, Grenig & Lee, Federal Jury Practice and Instructions,

§ 17.05 (6th ed. 2008). The “mistake of law” defense, as
Martorello would present it, would not be probative to refute that
Martorello’s participation in directing the affairs of the
enterprise was knowing, deliberate, and intentional.

More importantly, mistake of law defenses are heavily
disfavored in civil cases and should not be allowed here. The
Supreme Court has “long recognized the ‘common maxim, familiar to
all minds, that ignorance of the law will not excuse any person,

either civilly or criminally.’” Jerman v. Carlisle, McNellie,

Rini, Kramer & Ulrich LPA, 558 U.S. 573, 581 (2010) (quoting Barlow

v. United States, 7 Pet. 404, 411 (1833) (opinion for the Court by

45 Section 1962(c) is both a claim in its own right and is also
necessary to the § 1962(d) claim, which requires proof that the
object of the RICO conspiracy was to violate § 1962(c).

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Story, J.)); see also id. at 582 n.5 (referring to the “‘venerable

principle’ that ignorance of the law generally is no defense”)
(quoting Ratzlaf v. United States, 510 U.S. 135, 149 (1994));

United States v. Evans, No. 2204307, slip op. at 13 (4th Cir. July

25, 2023).
As a result, individuals are nonetheless liable for their
actions even if they, in good faith, believe that they are acting

in accordance with the law. See United States v. Fuller, 162 F.3d

256, 261-62 (4th Cir. 1998). Indeed, as the Supreme Court has made
clear, American “law is . . . no stranger to the possibility that
an act may be ‘intentional’ for purposes of civil liability, even
if the actor lacked actual knowledge that her conduct violated the
law.” Jerman, 599 U.S. at 582-83. The “background presumption must
be that ‘every citizen knows the law.’” Fuller, 162 F.3d at 262

(quoting Bryan v. United States, 524 U.S. 184, 193 (1998)).

There are, of course, some instances when ignorance of the
law may be a defense to civil liability under federal law. However,
“when Congress has intended to provide a mistake of law defense to
civil liability, it has often done so more explicitly than here.”
Jerman, 559 U.S. at 583 (discussing the Fair Debt Collection
Practices Act). Congress did not do so when it enacted RICO.

Martorello does not contend otherwise.

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Martorello’s mistake of law defense does not fare better under
Section 1962(d) which provides that:
It shall be unlawful for any person to conspire to

violate any of the provisions of subsection . . . (c) of
this section.

18 U.S.C. § 1962(d) (emphasis added). The statutory text of §
1962(d) does not mention willfulness. “[T]o prove a _ RICO

conspiracy, the Plaintiffs must establish: (1) that two or more

people agreed to commit a substantive RICO offense; and (2) that

the defendant knew of and agreed to the overall objective of the

RICO offense.” Blackburn v. A.C. Israel Enters., No. 3:22cvl146,

2023 WL 4710884, at *31 (E.D. Va. July 24, 2023) (quoting Solomon

v. Am. Web Loan, No. 4:17cv145, 2019 WL 1320790, at *11 (E.D. Va.

March 22, 2019)) (emphasis added); see also Mao v. Glob. Tr. Mgmt.,

LLC, No. 4:21CV65, 2022 WL 989012, at *12 (E.D. Va. March 31,
2022). RICO conspiracy does not require “some overt act or specific
act” and is therefore “even more comprehensive” than the general
conspiracy statute. Salinas, 522 U.S. at 63. “The partners in the
criminal plan must agree to pursue the same criminal objective
," “even if a conspirator does not agree to commit or facilitate
each and every part of the substantive offense.” Id. at 63-64.
No doubt, it must be shown that the defendant knowingly agreed

to join the conspiracy alleged under 18 U.S.C. § 1962(d). And,

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the act of joining the conspiracy would have to be willful on the
part of the defendant. But here too the jury would be told:

The term “willfully,” as used in these instructions to
describe the alleged state of mind of defendant .
means that he acted knowingly, deliberately and
intentionally as contrasted with accidentally,
carelessly, or unintentionally.

1A O'Malley, Grenig & Lee, Federal Jury Practice and Instructions,

§ 17.05 (6th ed. 2008). And, as is the case under § 1962(c),
Martorello’s mistake of law defense would not be probative to
refute that his joining the conspiracy was knowing, deliberate, or
intentional.

But, in any event, that is not Martorello’s willfulness issue:
his willfulness contention is that, although he was aware that
tribal law had been held inapplicable to rent-a-tribe online
lending operations such as his, he nonetheless subscribed to the
view that tribal law governed and, because of that mistake of law,
he did not act willfully. For the reasons explained above in
discussing the defense as to § 1962(c), the general, well-settled

principles of Jerman, Barlow, and Fuller foreclose such a defense

to the claim under § 1962(d), COUNT THREE.
So, as is true of the Section 1962(c) claim in COUNT TWO,
there is no place for a mistake of law defense in responding to a

willful component of the claim under Section 1962(d) (COUNT THREE) .

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And, for the reasons previously given,** there is no more place for
the mistake of law defense in defending the civil conspiracy claim
under Section 1962{d) than there is in defending the civil Section
1962(c) claim.

A final word about Martorello’s citation to United States v.

Mouzone. Martorello relies on the statement in Mouzone that an
element of § 1962(d) criminal liability is “that each defendant
knowingly and willfully agreed that he or some other member of the
conspiracy would commit at least two racketeering acts.” 687 F.3d
at 218.

Assuming that actually is an element necessary in a criminal
case, the willful aspect in that element is attached to the
agreement to commit the alleged racketeering act, whatever it might
be. Nothing in that formulation requires proof that the defendant
knew that the racketeering act to be committed was an unlawful
one.

And, in any event, the jury would be told that:

The term “willfully,” as used in these instructions to

describe the alleged state of mind of defendant

means that he acted knowingly, deliberately and

intentionally as contrasted with accidentally,
carelessly, or unintentionally.

46 See pp. 38-39, supra.
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So, the general rules about mistake of law would apply and a
mistake of law would not preclude civil liability under § 1962 (d)
as alleged in COUNT THREE.

That then brings the analysis to the second aspect of
Martorello’s theory: using the mistake of law defense to counter
what Martorello perceives (erroneously) to be an element of RICO
liability: knowledge that the loan itself was illegal.

(ad) Knowledge of Illegality of the Loans

As explained above, Martorello also asserts the mistake of
law defense against what he erroneously perceives to be another
element of the claims under both Section 1962(c) and Section
1962(d). Specifically, Martorello argues that Plaintiffs must
prove that he knew that the loans were unlawful, and that his
mistake of law defense is available to counter that element. For
the reasons set forth below, this twist on Martorello’s mistake of
law defense also lacks merit.

To begin, the text of neither § 1962(c) nor § 1962(d) say
that knowledge that the loans (the asserted unlawful debt) are
illegal is an element of the RICO claims asserted in COUNTS TWO
and THREE. Nor does the definition of “unlawful debt” in § 1961(6)
say that such knowledge is required. So, the statutory text does
not predicate liability on a finding of a defendant’s knowledge

that the collected debt is an unlawful one. That is not

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dispositive, but it is helpful in deciding whether Congress
intended RICO liability for collecting an unlawful debt to
necessitate proof that a defendant knew the debt to be unlawful.
When determining whether knowledge of the illegality of the
loans is required, it is helpful to look to the elements of the
respective claims. The elements of a § 1962(c) claim do not require

knowledge of the illegality of the loans. Gibbs v. Stinson, 421 F.

Supp. 3d at 312 (E.D. Va. 2019); Mao, 2022 WL 989012, at *9; Gibbs

v. Elevate Credit, No. 3:20cv632, 2021 WL 4851066, at *15 (E.D.

Va. Oct. 17, 2021) (quoting Slay's Restoration, LLC v. Wright Nat'l

Flood Ins. Co., 884 F.3d 489, 493 (4th Cir. 2018)); see also

Solomon v. Am. Web Loan, No. 4:17cvl45, 2019 WL 1320790, at *5-6

(E.D. Va. March 22, 2019) (quoting Dillon v. BMO Hams Bank, N.A.,

16 F. Supp. 3d 605, 618 (M.D.N.C. 2014)).

Nor do the elements of a § 1962(d) civil claim bespeak the
need for proof of knowledge that the predicate acts (here,
collection of unlawful debt) are illegal. To be found liable of
RICO conspiracy, a defendant must have “by either words or action,
objectively manifested an agreement to participate directly or

indirectly in the affairs of the enterprise.” United States v.

Tillett, 763 F.2d 628, 632 (4th Cir. 1985). Plaintiffs “need not
establish that each conspirator had knowledge of all the details

of the conspiracy but, rather, only that the defendant participated

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in the conspiracy with knowledge of the essential nature of the

plan.” Id. (emphasis added). Unlike the general conspiracy
statute, § 1962(d) contains “no requirement of some overt act or
specific act.” Salinas, 552 U.S. at 63. “The RICO conspiracy
provision, then, is even more comprehensive than the general
conspiracy offense.” Id.

When evaluating a motion to dismiss, the court found in
another civil tribal lending case that “Plaintiffs do not have to
allege knowledge of illegality.” Mao, 2022 WL 989012, at *9.
Instead, the Plaintiffs must show that the enterprise members,
including Martorello, were “associated together for a common
purpose of engaging in a course of conduct.” Id. (quoting United

States v. Turkette, 452 U.S. 576, 583 (2009)). The “purpose”

requirement “may be [satisfied with a showing that] Defendants
associated for the purpose of collecting unlawful debt, whether

they knew that debt was unlawful or not.” Id. (emphasis added).

Here too, it is helpful to consider the way in which the jury
would be instructed. To secure the views of the parties on that
subject, the Court called upon them to provide their views of what
the instructions would be on the two RICO claims. (ORDER, ECF No.
1247).

Martorello’s provided instructions were from United States v.

Tucker, No.16-cr-91 (PKC), 2020 WL 6891517 (S.D.N.Y. Nov. 24,

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2020), a 2017 criminal RICO case.4? Tucker Jury Instructions (ECF
No. 1253-1).48 On the conspiracy charge, the Court instructed the
jury that the Government must prove that “each defendant
intentionally joined the conspiracy” and did so “knowingly and
willfully. . . for the purpose of furthering its unlawful object,
which is the collection of an unlawful debt.” Id. at 3287.4? The
Tucker Court instructed that “the government must prove. . . that
the defendant willfully and knowingly engaged in the collection of
unlawful debt.” Id. at 3296.

Then, as to whether the defendant acted “willfully” and
“knowingly,” the Court instructed that “[t]he defendant need not

have known that he was breaking any particular law, but he must

have been aware of the generally unlawful nature of his act.” Id.

at 3288 (emphasis added). The Government also did not need “to

prove that the defendant knew what the usury rates were in the

states that the borrowers lived.” Id. at 3293 (emphasis added).

47 United States v. Grote, 961 F.3d 105 (2d Cir. 2020), discussed
in further detail below, is related to this case.

48 DEFENDANT’S NOTICE OF FILING PURSUANT TO ORDER AT DOCKET NO.
1247 OF JURY INSTRUCTIONS GIVEN IN OTHER UNLAWFUL DEBT RICO CASES
(ECF No. 1253).

49 The pagination is from the original case transcript.

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The Court in Tucker summed up its instructions on that point by
stating:

In this case, ignorance of the specific terms of any law
is no excuse to the charged conduct. The government can
meet its burden on the "willfully" and "knowingly"
element by proving that a defendant acted deliberately,
with knowledge of the actual interest rate charged on
the loan. It may also meet its burden by showing a
defendant acted deliberately, with an awareness of the
generally unlawful nature of the loan, and also that it
was the practice of the business engaged in lending money
to make such loans.

Id. at 3293-94 (emphasis added) .*° So, even Martorello’s view does
not necessitate proof that he knew the specific interest rate
charged or that the debt being collected was an unlawful one.
Plaintiffs attached four different sets of jury instructions
but only two of these had actually been given at trial. PLAINTIFFS’
STATEMENT OF POSITION IN RESPONSE TO THE COURT’S ORDER DATED MAY
19, 2023 at 2 (ECF No. 1252). One of the offered instructions comes

from Tucker and has been discussed. The other given instructions

50 In Tucker, the Court did allow for an advice of counsel defense.
The Court instructed the jury to:

consider whether, in seeking and obtaining advice from
lawyers, [the defendant] intended for his acts to be
lawful. If he did so, a defendant cannot be convicted of
a crime that requires willful and unlawful intent, even
if such advice were an inaccurate description of the
law.

Id. at 3301 (emphasis added). However, Martorello is not presenting
an advice of counsel defense.

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come from the 2019 Northern District of California civil RICO case

Planned Parenthood Federation of America, Ince. v. Center for

Medical Progress, Case No. 3:16-cv-236 (N.D. Cal. 2019). Id. The

claim in Planned Parenthood involved a theory of “pattern of

racketeering activity,” rather than collection of unlawful debt.
Thus, this does not directly answer the question whether Martorello
needed to know that the debts were unlawful. However, in Planned
Parenthood, the Court did provide guidance on RICO. It instructed
that, to show that a defendant had associated with the enterprise,
“Plaintiffs must prove that the Defendant was connected to the
enterprise in some meaningful way and that the Defendant knew of

the existence of the enterprise and of the general nature of its

activities.” Planned Parenthood Jury Instructions at 60 (ECF No.

1252-1) (emphasis added). As to the conspiracy question, the Court
instructed that:
One becomes a member of a conspiracy by willfully
participating in the unlawful plan with the intent to
advance or further some object or purpose of the
conspiracy, even if the person does not have full
knowledge of all the details of the conspiracy.
Id. at 66. Notably, there is no requirement that the defendant
know that the alleged acts of racketeering are illegal.
Neither respected instruction book specifies knowledge of

illegality as an element of either 1962(c) or (d). That, of course,

teaches that a mistake of law as to the legality of the underlying

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unlawful debt could be no defense to the Subsection (c) aspect of
the conspiracy claim.

The Fourth Circuit has not addressed whether, in a civil RICO
case, the defendant must have knowledge of illegality, but other
federal courts of appeals have. In 1980, the United States Court
of Appeals for the Second Circuit squarely held that RICO “does
not include a scienter element over and above that required by the

predicate crimes.” United States v. Boylan, 620 F.3d 359, 361-62

(2d Cir. 1980). Six years later, in United States v. Biasucci, 786

F.2d 504 (2d Cir. 1986), cert. denied, 479 U.S. 827 (1986), the

Second Circuit rejected an argument that the “government was
required to establish that [the defendants] had knowledge of the
specific interest rates” on the loans at issue, i.e., knowledge of
the illegality of the loans. Id. at 512-13. In so doing, the Second
Circuit, citing Boylan, reiterated that “RICO imposes no
additional mens rea requirement beyond that found in the predicate
crimes.” Id. at 512. And so, “we look to the scienter elements
found in the statutory definitions of the predicate crimes to
determine the degree of knowledge that must be proved to establish
a RICO violation.” Id.

Finding that the New York usury law (the predicate crime)
“does not require specific intent to violate the usury laws,” the

Second Circuit declined to find that the government had to have

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proven that the defendant had knowledge of the specific illegal
interest rate. Id. Thereupon, the Second Circuit approved the
district court’s instruction that the RICO scienter requirement

could be satisfied “either by proving specific knowledge of the

interest rates on the usurious loans, or by showing the defendant’s

awareness ‘of the general unlawful nature of the particular loan

in question and also that it was the practice of the lenders to

make such loans.’” Id. (emphasis added) (quoting the trial court’s

jury instructions).

The Second Circuit also found that neither the statutory
language nor the policies underlying RICO and the predicate state
law “impel us. . . to require knowledge of the specific interest
rates charged on usurious loans.” Id. Indeed, because “one of
Congress’ principal aims” in enacting RICO was to eliminate
loansharking, and because “Congress expressly commanded that the
RICO statute ‘be liberally construed to effectuate its remedial
purposes,’” it “could not have intended to hobble the government’s
ability to combat loansharking by requiring it to prove knowledge
of the specific interest rates charged.” Id. (citation omitted)

(quoting U.S. v. Ruggiero, 726 F.2d 913, 919 (2d Cir. 1984)).

Martorello correctly notes that, in United States v. Grote,

961 F.3d 105 (2d Cir. 2020), the Second Circuit, in dicta, queried

whether Biasucci was consistent with a “presumption in favor of a

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scienter requirement” for criminal statutes, as provided in Elonis

v. United States, 575 U.S. 723, 727 (2015) and United States v. X-

Citement Video, Inc., 513 U.S. 64 (1994). Grote, 961 F.3d at 117-

19.51 In United States v. Moseley, 980 F.3d 9, 19 (2d Cir. 2020),

the Second Circuit noted Grote, but, like Grote, declined to depart
from Biasucci concluding only that the defendant must be aware of
the unlawful nature of his actions.

In any event, Elonis does not help Martorello in his assertion
that the mistake of law defense, as he would present it, is
available in this case. Indeed, Elonis quite plainly says that,
even in a criminal case, where guilty mind is an element in every
crime:

This is not to say that a defendant must know that his

conduct is illegal before he may be found guilty. The

familiar maxim ‘ignorance of the law is no excuse’
typically holds true. Instead, our cases have explained

that a defendant generally must ‘know the facts that

make his conduct fit the definition of the offense,”

[citation omitted] even if he does not know that those
facts give rise to a crime.

Elonis, 575 U.S. at 735 (emphasis added). The dicta in Grote
notwithstanding, Elonis does not support Martorello’s view that he

can present a mistake of law defense.

51 DEFENDANT MATT MARTORELLO REPLACEMENT MEMORANDUM OF LAW IN
OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
(“Martorello Response”) at 33 (ECF No. 1218).

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The Second Circuit’s approach in Biasucci has met with
approval from the United States Court of Appeals for the Eleventh

Circuit. In United States v. Pepe, the Eleventh Circuit agreed

with Biasucci that “[a] plain reading of the statute indicates

that RICO does not contain any separate mens rea or scienter

elements beyond those encompassed in its predicate acts.” 747 F.2d

632, 675-76 (llth Cir. 1984) (emphasis added). The Eleventh
Circuit went on to explain that the district court correctly
instructed, as to the § 1962(d) conspiracy charge, that “the
defendant with knowledge of the conspiracy, willfully became a
member of the conspiracy by agreeing to participate.” Id. at 676.
That instruction would, of course, be given as to COUNT THREE at
the trial of this case, but it certainly does not open the door to
a mistake of law defense. And, as to the § 1962(c) charge, the
Eleventh Circuit approved the district court’s charge that the
jury had to find that the “defendant was engaged in a pattern of
racketeering activity . . . by knowingly and willfully committing
at least two acts of racketeering activity or knowingly and
willfully collecting an unlawful debt.” Id. at 676 (internal
quotations omitted). That instruction would be appropriate here
as well, but, as the Eleventh Circuit explained, it does not
require “a mens rea or scienter requirement beyond those

encompassed in the predicate acts.” So, if the Virginia law does

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not require proof that the defendant knew the loan was illegal
(and it does not), then neither does § 1962(c). And, as is true
with § 1962(c), the willful aspect of the instruction (knowingly
and willfully) modifies the act of collecting, not whether the
debt was unlawful. And, the instruction certainly does not suggest
that a mistake of law defense is available.

In addition to Mao, two other district courts within the
Fourth Circuit, in deciding civil RICO cases, have endorsed the
Second Circuit’s Biasucci view. The Western District of North
Carolina, citing to a District of Connecticut decision governed by
Biasucci, found that “[t]he plaintiff must demonstrate, with
respect to a defendant, both that the defendant committed a
predicate offense as delineated in Section 1961 [the definitions

section] and that the defendant had the requisite scienter for the

underlying predicate offense.” Smith v. Chapman, No. 3:14-cv-

00238, 2015 WL 5039533, at *7 (W.D.N.C. Aug. 26, 2015) (emphasis

added) (quoting Interstate Flagging, Inc. v. Town of Darien, 283

F. Supp. 2d 641, 645 (D. Conn. 2003)). The Middle District of North
Carolina reached the same conclusion, finding “[i]Jt appears there

is no mental state requirement ‘beyond that found in the predicate

crimes.’” Dillon v. BMO Harris Bank, N.A., 16 F. Supp. 3d 605, 618

(M.D.N.C. 2014) (emphasis added) (quoting Biasucci, 786 F.2d at

514).

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Moreover, even in criminal cases, “(t]he presumption in favor
of scienter requires a court to read into a statute only that mens
rea which is necessary to separate wrongful conduct from ‘otherwise

imnocent conduct.’” Carter v. United States, 530 U.S. 255, 269

(2000) (quoting X-Citement Video, 513 U.S. at 72). When it comes

to general intent crimes, the prosecution only needs to prove

“knowledge with respect to the actus reus of the crime.” Id. In

other words, a defendant “generally must ‘know the facts that make

his conduct fit the definition of the offense,’ even if he does

not know that those facts give rise to a crime.” Elonis, 575 U.S.

at 735 (emphasis added) (quoting Staples v. U.S., 511 U.S. 600,

608 n.3 (1994)). This, of course, is a manifestation of the
principle that there is no mental state requirement beyond that
found in a predicate crime. It also reinforces the principle that
a mistake of law defense is no defense at all.

In United States v. Lawson, 677 F.3d 629, 652 (4th Cir. 2012),

the Fourth Circuit considered a position like Martorello’s under
18 U.S.C. § 1955, which prohibits illegal gambling. Section 1955,
which is quite similar to § 1962, provides that “[w]hoever
conducts, finances, manages, supervises, directs, or owns all or
part of an illegal gambling business shall be fined under this
title or imprisoned not more than five years, or both.” The

statute goes on to define “illegal gambling business” as a

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“gambling business which is a violation of the law of a State or
political subdivision in which it is conducted.” 18 U.S.C. §
1955 (b) (1) (i).

In reviewing a defendant’s conviction under that provision,
the Fourth Circuit rejected the defendant’s argument that the jury
should have been instructed that she “must have known that her
conduct constituted gambling under [applicable state] law.”
Lawson, 677 F.3d at 652. The Court of Appeals reasoned that the
“plain language” of the statute sets forth a general intent crime
and thus “does not require the government to establish that the
defendant knew that their conduct violated state law.” Id. at 652-
53.

The same holds true for § 1962. “Conduct” and “participate, ”
the operative verbs in § 1962, impute the same scienter requirement
as § 1955’s operative verbs, which include “conduct.” In addition,
both the definition of “gambling business” and “unlawful debts”
incorporate state law. 18 U.S.C. § 1961(6). Mirroring the statutory
framework of § 1955, when used in a criminal prosecution, § 1962
is a general intent crime. And, when a general intent crime is
involved, a “good-faith instruction [which, in Lawson, was based
on a mistake of law] .. . is unavailable.” Lawson, 677 F.3d at

653.

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The teaching of Lawson, applied in the civil context, is that
§§ 1962(c) and (d) do not require knowledge of illegality of the
collected debt as an element of either COUNT TWO or COUNT THREE.
Lawson likewise teaches that Martorello may not raise a mistake of
law defense based on the notion that he did not know the loans
were illegal, because he chose to take the view tribal law applied,
but guessed wrongly.

In this case, of course, RICO is being asserted as the basis
for civil liability. Courts follow much of the same process in
determining if a civil statute contains a scienter requirement.
First, they look to the language of the statute to ascertain
congressional intent. For example, when it has intended to excuse
mistakes of law, Congress has required violations to be “willful.”
Jerman, 559 U.S. at 584-85. Even more explicitly, Congress
sometimes includes a mistake of law defense. It did so, for
instance, in the Fair Debt Collection Practices Act (“FDCPA”) by
requiring that the defendant acted with “actual knowledge or
knowledge fairly implied” that his action was prohibited by the
statute. Id. at 584 (quoting 15 U.S.C. §§ 45(m) (1) (A), (C)). The
RICO statute, on the other hand, contains no provision requiring
that the defendant knew his conduct (collection of an unlawful

debt) was unlawful. Nor does it provide a mistake of law defense.

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The Supreme Court also has had multiple occasions to consider
scienter requirements in the various provisions of the Securities
and Exchange Act of 1934, making it an especially useful comparison
statute. For example, in assessing § 10(b), which makes it unlawful
to “use or employ” “any manipulative or deceptive device or
contrivance” in connection with the purchase or sale of securities,
15 U.S.C. § 783 (b), the Supreme Court determined that Congress had
imposed a scienter requirement for liability under this provision
by using “[t]he words ‘manipulative or deceptive’. . . in

conjunction with ‘device or contrivance... .’”" Ernst & Ernst v.

Hochfelder, 425 U.S. 185, 197 (1976). The ordinary meaning of those
words, particularly “manipulative,” “make unmistakable a
congressional intent to proscribe a type of conduct quite different
from negligence.” Id. at 199. “[M]Janipulative,” so the Supreme
Court explained, “connotes international or willful conduct
designed to deceive or defraud.” Id.

In contrast, the Supreme Court found that another provision
in the Act, prohibiting “any person from obtaining money or
property ‘by means of any untrue statement of a material fact or
any omission to state a material fact,’ is devoid of any suggestion

whatsoever of scienter requirement.” Aaron v. Securities &

Exchange Comm., 446 U.S. 680, 696 (1980) (quoting § 17(a) (2) of

the Securities and Exchange Act of 1934). Likewise, the Supreme

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Court determined that a prohibition on “‘engag[ing] in any
transaction, practice, or course of business which operates or

would operate as a fraud or deceit’ . . . quite plainly focuses

upon the effect of particular conduct on members of the investing
public, rather than on the culpability of the person responsible.”
Id. at 696-97 (quoting § 17(a) (3) of the Securities and Exchange
Act of 1934). Therefore, that provision was found not to contain
a scienter requirement.

RICO contains no language that overcomes the presumption
against mistake of law defenses. Section 1962(c) contains no
scienter requirement, see supra, nor does it contain an explicit
mistake of law defense like the FDCPA. The language used by §
1962(c)—“conduct or participate” in conjunction with “collection’—
does not connotate the sinister intentions implicit in
“manipulative” or “deceptive” as found in § 10b of the Securities
and Exchange Act. Instead, these terms are far more similar to
“engage,” as found in § 17(a) (3) of the Act, which does not excuse
mistake of law.

In addition to evaluating statutory text, the Supreme Court
has also turned to legislative history to understand Congressional

intent. Hochfelder, 425 U.S. at 201. Considering the history of §

10(b) of the Securities and Exchange Act, the Supreme Court

determined that the legislative history indicated Congress only

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wanted to impose liability on those who act other than in good
faith. Id. at 206.

With RICO, on the other hand, the legislative history supports
the opposite conclusion. RICO itself contains a provision
instructing that “its terms are to be ‘liberally construed to

effectuate its remedial purposes.’” Boyle v. United States, 556

U.S. 938, 944 (2009) (quoting § 904(a), 84 Stat. 947, note
following 18 U.S.C. § 1961). And supporters of the bill were
especially concerned with loansharking. Turkette, 452 U.S. at 591-
92 & n. 14 (considering RICO’s legislative history). Congress's
remedial intentions in passing RICO, therefore, would not be
advanced by “permit[ting] the defendant to avoid [liability] by
simply claiming that he had not brushed up on the law.” Hamling v.

United States, 418 U.S. 87, 123 (1974).

In sum, the text of §§ 1962(c) and (dad) does not require that
the defendant knew the loans were illegal, nor does the legislative
history indicate that Congress intended such a result or that a
“mistake of law” defense should be available. The Court declines
to read into RICO what Congress omitted. Unless the predicate

offense contains a scienter requirement,5? all that RICO requires

52 For example, when pursuing a RICO conspiracy case based on

violations of a federal statute prohibiting the knowing hiring of

unauthorized aliens, 8 U.S.C. § 1324(a)(3), that knowledge
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is that the defendant knew that the loans were issued at a rate
above that permitted by 18 U.S.C. § 1961(6) or that Martorello had
knowledge of the general illegal nature of the enterprise. Brice

v. Haynes Invs., Inc, 548 F. Supp. 3d 882, 894 (N.D. Cal. 2021)

(holding that defendants must have “knowledge of the purpose” of
the scheme or “knowledge of the terms on which the loans would be
provided and repayment required”). In other words, Martorello must
knowingly engage in the activity itself, but he does not have to
know that, by doing so, he would break the law. The next question
is whether Virginia's usury statute contains a  scienter
requirement.

3. Virginia’s Usury Statute: Va. Code Ann. § 6.2-303 (A)

The underlying Virginia statute, Va. Code Ann. § 6.2-303(A),
does not contain a mens rea or scienter requirement. Nor has it
been interpreted to contain one. The provision states, in full:

Except as otherwise permitted by law, no contract shall

be made for the payment of interest on a loan at a rate

that exceeds 12 percent per year.
Va. Code Ann. § 6.2-303(A). The statute goes on to clarify that it
“shall apply to any person who seeks to evade its application by

any device, subterfuge, or pretense whatsoever” followed by a non-

requirement is then imputed to RICO. See Walters v. McMahen, 684
F.3d 435, 440 (4th Cir. 2012).

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exhaustive list of such subterfuges. Va. Code Ann. § 6.2-303(E).
The statute provides for only one defense: if the “interest or
other charges in excess of those permitted by law were imposed or
collected as a result of a bona fide error in computation or
similar mistake.” Va. Code Ann. § 6.2-305(C).

There is no Virginia decision that addresses whether the
current Virginia statute allows for mistake of law defense. But,
in 1826, the Supreme Court of Appeals of Virginia interpreted an
earlier version of this provision to explicitly exclude a mistake
of law defense, stating:

Wherever such intention appears in the taking more than

legal interest, it is evidence of the corrupt agreement

required by the statute; though the party may never have
heard of the law, or may think that he is steering quite

clear of it. Ignorance or mistake of the law excuses no
man; but a mistake of fact does excuse.

Childers v. Deane, 4 Rand. 406, 410-11 (Va. 1826) (emphasis

added) .53

53 The version of the statute in effect at the time reads: “No
person shall, upon any contract, take, directly or indirectly, for
loan of any money, wares, or merchanize [sic], or other commodity,
above the value of six dollar for the forbearance of one hundred
dollars for a year.” “An act to reduce into one act, the several
acts against Usury” (Feb. 24, 1819) § 1, in Revised Code of the
Laws of Virginia: Being a Collection of All Such Acts of the
General Assembly, of a Public and Permanent Nature, as are Now in
Force, ch. 102, pp. 373-74 (1819).

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Although Childers is an older precedent interpreting an
earlier version of the statute, it is in accord with more recent
decisions explaining how courts understand the current statute. To
make out a claim under Va. Code Ann. §6.2-303(A), plaintiffs need
only show that defendants “collected or received payments on loans

that violated Virginia’s statutory limits.” Gibbs v. Stinson, 421

F. Supp. 3d at 309. The elements of the statutory cause of action
include no reference to the defendants’ intent or knowledge.
Modern caselaw reinforces the fact that a creditor’s belief
that he is acting in accordance with the law is no defense. For
example, the Supreme Court of Virginia invalidated a usurious loan
even though the issuing bank believed, presumably in good faith,
that it fell under one of the statutory provisions exempting it

from the usury laws. Radford v. Cmty. Mortg. & Inv. Corp., 312

S.E.2d 282, 285 (Va. 1984). That, of course, is a mistake of law.
In so deciding, the Supreme Court of Virginia reaffirmed that
“(tlhe [Commonwealth’s] usury laws. . . are to be liberally
construed with a view to advance the remedy and suppress the
mischief” and the courts “should therefore be chary in permitting

this policy to be thwarted.” Id.*4

54 There is one easily distinguishable case finding that the

lenders’ good-faith belief can excuse a usurious debt. In this

case, the debtor and creditor engaged in a complicated loan

transaction involving real estate liens, corporate debts, and
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Looking at the statutory language and the public policy
underlying the statute, the Virginia usury statute does not impose
a scienter requirement, nor can it be read to allow a mistake of
law defense.

Cc. Summary Judgment: Certain Elements of COUNT TWO

The Plaintiffs’ Motion asked for summary judgment on certain
elements of the 18 U.S.C. § 1962(c) claim in COUNT TWO (ECF No.
1169, pp. 36-40). In particular, they asked for summary judgment
that: (i) “an enterprise existed;” (ii) that “an association-in-
fact enterprise existed;” (iii) the loans at issue “constituted
‘unlawful debt’” because the interest rates on those loans exceeded
24% (twice the 12% rate permitted by Virginia law; and (iv)

“persons associated with the enterprise engaged in the collection

individuals acting on behalf of themselves and partnerships.
Heubusch v. Boone, 192 S.E.2d 783, 787-78 (Va. 1972). On its face,
the Supreme Court of Virginia determined that the resulting loan
was usurious. Id. at 789. However, the debtors in the case were a
lawyer and his law firm and had “induce[d] the lender to enter
into a usurious agreement that he would not otherwise have made.”
Id. at 789-91. As the debtor/lawyers “were the direct causes of
the illegality complained of,” the debtors were “estopped from
profiting by that illegality of their defense” and the loan was
deemed valid. Id. at 790. While Heubusch does involve a creditor
relying in good faith on the advice of counsel, it is readily
distinguishable from Martorello’s asserted defense. Martorello
relied on his own lawyers’ advice, not that of the debtor.
Martorello’s debtors in no way “induce[d]” him to enter into the
loans as in Heubusch. Thus, that decision does not support the
availability of a good-faith defense to Virginia Code Ann. § 6.2-
303(A) in this case.

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of the debt.” (ECF No. 1169, pp. 36-40, § VIA-C). However,
recognizing that there was a material fact dispute over one element
of COUNT TWO, Plaintiffs did not seek summary judgment as to COUNT
TWO as a whole.

As explained above, Martorello did not respond to the
arguments on those points.55 At oral argument on June 7,
Martorello’s counsel agreed. June 7 Tr. p. 173. Hence, summary
judgment on those points (the elements) in Plaintiffs’ favor is

appropriate.

CONCLUSION
For the reasons set forth above, the Court granted PLAINTIFFS’
MOTION FOR PARTIAL SUMMARY JUDGMENT (ECF No. 1165) in part and
denied in part.
Subsequent orders have taken the matter further so that, as
of now, summary judgment has been granted as to COUNTS TWO and
THREE and COUNTS FOUR and FIVE have been dismissed without

prejudice. 5é As a result of this MEMORANDUM OPINION and those

55 Compare PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY
JUDGMENT (ECF No. 1241, pp. 7, 28-30) with DEFENDANT MATT
MARTORELLO REPLACEMENT MEMORANDUM OF LAW IN OPPOSITION TO
PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT (ECF No. 1218).

56 June 16, 2023 ORDER (ECF No. 1328), as amended by ECF No. 1350;
July 7, 2023 ORDER (ECF No. 1373) (granting summary judgment in
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ORDERS, a final judgment will be entered separately on COUNTS TWO
and THREE.

It is so ORDERED.

/s/ het
Robert E. Payne

Senior United States District Judge

Richmond, Virginia
Date: September A/, 2023

favor of the Plaintiffs as to COUNT TWO); July 10, 2023 ORDER (ECF
No. 1390) (dismissing without prejudice COUNTS FOUR and FIVE).
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